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                                               October 25, 2017


  VIA ECF

         Re:      In re: Invokana (Canagliflozin) Products Liability Litigation, MDL No. 2750
                  Master Case No. 3:16-md-2750 (BRM) (LHG)

  Dear Counsel:

         Please be advised that the PSC shall be taking the deposition of Bruce R. Leslie, M.D., in
  the above-referenced matter on November 7, 2017 at 9:30 a.m. eastern time, at the offices of
  Drinker Biddle & Reath LLP, 105 College Road East, Princeton, New Jersey 08542.

                                               Sincerely,

                                               /s Christopher A. Seeger
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                                               Plaintiffs’ Co-Lead Counsel


  cc: All Counsel of Record
